












Affirmed and
Memorandum Opinion filed November 19, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00533-CR

____________

&nbsp;

CEDRIC BROWN, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;

&nbsp;



On Appeal from the 183rd District Court

Harris County, Texas

Trial Court Cause No. 1179017

&nbsp;

&nbsp;

&nbsp;



MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant entered a “guilty” plea to the offense of tampering
with a government record.&nbsp; See Tex. Penal Code Ann. § 37.10 (Vernon
Supp. 2009).&nbsp; On May 27, 2009, the trial court sentenced appellant to five
years’ community supervision, and assessed a fine of $1,000.&nbsp; Appellant filed a
timely notice of appeal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant’s appointed counsel filed a brief in which he
concludes this appeal is wholly frivolous and without merit.&nbsp; The brief meets
the requirements of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396
(1967), by presenting a professional evaluation of the record and demonstrating
why there are no arguable grounds to be advanced.&nbsp; See High v. State,
573 S.W.2d 807, 811–12 (Tex. Crim. App. 1978).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A copy of counsel’s brief was delivered to appellant.&nbsp;
Appellant was advised of the right to examine the appellate record and file a
pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim.
App. 1991).&nbsp; As of this date, more than 60 days has elapsed and no pro se
response has been filed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We have carefully reviewed the record and counsel’s brief and
agree the appeal is wholly frivolous and without merit.&nbsp; Further, we find no
reversible error in the record.&nbsp; A discussion of the brief would add nothing to
the jurisprudence of the state.&nbsp; We are not to address the merits of each claim
raised in an Anders brief or a pro se response when we have determined
there are no arguable grounds for review.&nbsp; See Bledsoe v. State, 178
S.W.3d 824, 827–28 (Tex. Crim. App. 2005).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, the judgment of the trial court is affirmed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Panel consists of Justices
Yates, Frost, and Brown. 

Do Not Publish — Tex. R. App. P. 47.2(b).





